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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

* CRIMINALNO, 3 VOCCOY )
BRANDON DANIEL DEPENDANT

PLEA AGREEMENT

The United States Attorney hereby proposes to the Court a plea agreement to be filed in
this cause under Rule 11(c) of the Federal Rules of Criminal Procedure. Defendant has read and
fully understands this plea agreement and approves same, realizing that the plea agreement is
subject to acceptance or rejection by the Court. The plea agreement is as follows:

L. GUILTY PLEA: The defendant agrees to plead guilty under oath to Count One
of the Information, which charges that on or about between June 30, 2019 and July 5, 2019, in the
Northern District of Mississippi, the defendant, BRANDON DANIEL, did knowingly receive a
visual depiction of a minor engaging in sexually explicit conduct, including at least one
prepubescent minor or a minor who had not attained 12 years of age, using a facility of interstate
and foreign commerce, and that has been shipped and transported in and affecting interstate
commerce, and which contained materials which had been mailed and so shipped and transported,
by any means including by computer, in violation of Title 18, United States Code, Sections
2252(a)(2) and (b), which carries maximum possible penalties of not less than 5 and not more
than 20 years incarceration, not less than 5 years supervised release, not more than a $250,000

fine, restitution to the victim, a $5,000 assessment, and a special assessment of $100.
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2. OTHER CHARGES: The United States agrees not to charge the defendant with
any other offenses arising from or related to the above charge.

3. RESTITUTION: Pursuant to Title 18, United States Code, Sections 3663(a)(3),
3663A(a) and (b), 3664, 2248, and 2259, the defendant agrees to make full restitution to all minor
victims of his offenses as to all counts charged, whether or not the defendant enters a plea of
guilty to such counts and whether or not such counts are dismissed pursuant to this Agreement.
The defendant understands that the Court may order restitution in accordance with the provisions
of 18 U.S.C. § 3663 for all offenses committed and specifically agrees that restitution is not
limited to the count of conviction.

4, FORFEITURE: Pursuant to the Information, the defendant agrees to forfeit all
rights in the electronic devices listed upon conviction of Count One of the Information.

5. OTHER AUTHORITIES: This agreement does not bind any prosecuting
authority of any state or any other federal district, nor does it bind the Attorney General of the
United States with regard to any matter, criminal or civil, involving federal tax laws. Nor does
this agreement bind the United States or any of its departments or agencies with regard to any
civil or administrative actions or remedies.

6. VIOLATIONS OF THIS AGREEMENT: If defendant violates this agreement,
all statements made pursuant hereto will be admissible against defendant, who hereby waives the
provisions of Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the Federal
Rules of Evidence. Defendant may also, in that event, be prosecuted for all federal offenses,

including perjury and false statements relating to this plea agreement.
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7. ACKNOWLEDGMENTS: Apart from being advised of the applicability of the
U.S. Sentencing Guidelines, and other than as set forth elsewhere in the plea documents, no
promise or representation whatsoever has been made to defendant as to what punishment the
Court might impose if it accepts the plea of guilty. This agreement fully reflects all promises,
agreements, and understandings between the defendant and the United States Attorney. The
defendant’s agreement is knowing, free, and voluntary, and not the product of force, threat, or

coercion. The defendant is pleading guilty because defendant is in fact guilty.

This the _/O#4 day of (He , 2020.

FAWA 458 # 10316
On bell of » C. LAMAR

nited States Attorney

MS Bar No. 8479

 

  

 

 

AGREED AND CONSENTED TO: APPROVED:
BRANDON BANIEL GEORGE READY (f
Defendant Attorney for Defendant

Mississippi Bar No. $674
